Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 1 of 26




               EXHIBIT 1
  Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 2 of 26



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


ALVIN STREET,                                     §
Individually and on behalf of all others          §
similarly situated                                §
                                                  §
       Plaintiff,                                 §
                                                  §
vs.                                               §
                                                  §           Civil Action No. 2:16-cv-00384
                                                  §
TBC CORPORATION,                                  §
TBC RETAIL GROUP, INC.,                           §
NTW, LLC d/b/a NATIONAL TIRE                      §
AND BATTERY                                       §
                                                  §
       Defendants.                                §


                            DECLARATION OF MEGAN FILOON

       I, Megan Filoon, am over the age of twenty-one and give this declaration of my own free

will, pursuant to 28 U.S.C. § 1746, based on personal knowledge, and for use in any judicial

proceeding involving any of the Plaintiffs in the above litigation. If called to testify as a witness,

I am competent to testify and would testify to the following facts:

       1.      I am currently employed by TBC Corporation ("Defendant" or "TBC") as Vice

President of Human Resources. My job responsibilities include managing Human Resources

related issues for subsidiaries of TBC, including NTW, LLC (d/b/a National Tire & Battery). I

have held that position since 2013.

       2.      Plaintiff, Alvin Street, is currently employed by N1'W, LLC (d/b/a National Tire

& Battery). He was hired on May 23, 2016 and is currently working as an hourly salesperson.

Opt-in Brianna Perez is currently employed by NTW, LLC (d/b/a National Tire & Battery). She

was hired on May 26, 2016 and is currently working as an hourly salesperson.
   Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 3 of 26



       3.     In February 2013, TBC's senior executives decided to implement an arbitration

agreement. In September 2013, TBC drafted the initial Mutual Agreement to Arbitrate Claims

and Waiver of Class/Collective Actions (the "Arbitration Agreement"). The Arbitration

Agreement was finalized in October 2013. A true and correct copy of the Arbitration Agreement

is attached as Attachment 1. During October and November 2013, all of TBC's new hires and

California employees were required to sign the Arbitration Agreement.

       4.     Between October 2013 and March 2014, TBC's IT department created access in

the employee Portal so that the Arbitration Agreement could be posted to all current, non-

California employees for their electronic signature. There was a delay during this time period

because of Portal and production issues as this was the first document requiring employees'

electronic signatures that was placed on the Portal. During February 2014, TBC's Human

Resources department began drafting a memorandum about the Arbitration Agreement to all

current, non-California employees.

       5.     On March 13, 2014, TBC provided all of its then current, non-California

employees via the employee Portal the finalized Employee Memorandum (the "Employee

Memorandum") and the Arbitration Agreement. A true and correct copy of the Employee

Memorandum is attached to this Declaration as Attachment 2. In addition, a company-wide

communication was circulated notifying employees of the Employee Memorandum and

Arbitration Agreement. The Employee Memorandum requested that each employee acknowledge

the Arbitration Agreement by March 21, 2014; however this was not a strict deadline, as many

employees did not acknowledge the Arbitration Agreement until after that date.




                                               2
  Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 4 of 26



       6.      As outlined on page 2 of the March 13, 2014 Employee Memorandum all current

non-California employees hired prior to October 15, 2013 were required to electronically sign

the Mutual Arbitration Agreement by following these steps:

   A. Employees had to log into the Portal by clicking a link and entering their user ID (their
      employee number) as well as a password. For first time users or those utilizing the reset
      option, the default password was the first two letters of the employee's last name
      followed by the last four digits of the employee's social security number. Users were
      then prompted to create their own personal passwords.

   B. Employees had to then navigate through two computer screens by clicking the Employee
      Self Service Tab and then clicking the Documents and Acknowledgments tab to view
      pending items.

   C. Employees next clicked on the document link for the Mutual Agreement to Arbitrate,
      which pulled up a PDF of the entire Mutual Arbitration Agreement. Employees had the
      option to print a copy of the agreement for their own records and to consult with legal
      counsel prior to electronically signing.

   D. Employees had to scroll through the entire Mutual Arbitration Agreement to the bottom
      of the very last page.

   E. Employees then signed the Mutual Arbitration Agreement electronically by entering the
      employee number in the first box followed by the last four digits of the employee's social
      security number in a second box and clicking the "Acknowledge" button.

   F. After clicking the "Acknowledge" button, a confirmation would appear and the Portal
      would then show that the Mutual Arbitration Agreement had been acknowledged along
      with the date and time of the employee's acknowledgement.

       7.      TBC considered the Mutual Arbitration Agreement to have been signed by each

employee who filled in those two boxes and clicked the "Acknowledge" button.

       8.      For newer hires and rehires, TBC now utilizes an electronic onboarding process

through the Kronos system. This was the system Alvin Street and Brianna Perez utilized when

they were hired in 2016. New hires and rehires must log into the Kronos system using their

personal information to begin their portion of the electronic onboarding process. They must

enter their first names, last names, and the last 4 digits of their social security numbers to sign

into Kronos. The onboarding employee then clicks to consent to reviewing and responding to


                                                3
  Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 5 of 26



notices in electronic form and to using electronic signature technology to complete the

onboarding documents. The onboarding employee continues to enter personal information such

as emergency contacts, direct deposit information, Form W-4 information, etc.

       9.      The Kronos system requires the onboarding employee to view each document

before electronically signing. For example, when the onboarding employee clicks on "view" the

Mutual Arbitration Agreement, the entire Agreement opens for viewing. Once the document has

been viewed, the system gives the onboarding employee the option of electronically signing by

clicking "Sign." If an onboarding employee passes this page without viewing and signing the

documents, an error message appears and the onboarding employee is not allowed to move on to

the next screen in the onboarding process. As the new hires electronically sign the documents, a

message appears as confirmation of the signature with the date and time stamp. After the

onboarding employees have reviewed and signed all the documents, including the Mutual

Arbitration Agreement, they are then asked to acknowledge that they have either printed or do

not wish to print the signed documents. An onboarding employee cannot move forward in the

hiring process without electronically signing all documents, including the Mutual Arbitration

Agreement. Lastly, the system notifies the onboarding employee of how to electronically view

the acknowledged documents again after hiring is complete. True and accurate copies of screen

shots and instructions outlining this onboarding process are included as Attachment 3 to this

declaration.

       10.     A true and correct copy of Alvin Street and Briana Perez' Mutual Arbitration

Agreements which were electronically signed via the Kronos onboarding system is attached to

this declaration as Attachment 4. This electronic acknowledgment of the Mutual Arbitration

Agreement was created at the time of the acknowledgment by the employee whose name appears




                                               4
   Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 6 of 26



on the documents. These records are kept in the course of TBC's regularly conducted business

and were a regular practice of that activity.

        11.     This declaration accurately reflects my personal knowledge. I declare under the

penalty of perjury that the foregoing is true and correct to the best of my knowledge. I have first-

hand knowledge of all statements made herein.



        Executed on November      4     , 2016.




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Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 7 of 26




           ATTACHMENT 1
Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 8 of 26




                     MUTUAL AGREEMENT TO ARBITRATE CLAIMS and
                        WAIVER OF CLASS/COLLECTIVE ACTIONS

        As a condition of my employment and/or continued employment with TBC Corporation or
one of its affiliated entities, and for the mutual promises herein, Applicant/Employee (referred to in
this Agreement as "Associate", "you") and the Company (collectively "the parties") agree that:

       1. Except (a) as expressly set forth in the section titled "Claims Not Covered by this
          Agreement", and (b) as otherwise required by applicable law, any and all disputes,
          claims, complaints or controversies ("Claims") between you and TBC Corporation and/or
          any of its parents, subsidiaries, affiliates, agents, officers, directors, employees and/or
          any of its benefit plans, benefit plan fiduciaries, sponsors or administrators (collectively
          and individually the "Company"), that in any way arise out of or relate to your
          employment, the terms and conditions of your employment, your application for
          employment and/or the termination of your employment, will be resolved by binding
          arbitration and NOT by a court or jury. As such, the Company and you agree to forever
          waive and relinquish their right to bring claims against the other in a court of law.

        2. To the maximum extent permitted by law, the parties agree that this Agreement is
           equally binding on any person who represents or seeks to represent you or the Company
           in a lawsuit against the other in a court of law. That is, the parties agree that no Claims
           may be initiated or maintained on a class action basis, collective action basis, or
           representative action basis either in court or arbitration. Any Claims must he brought
           in a party's individual capacity, and such claim may not be joined or consolidated in
           arbitration with Claims brought by other individuals. If, for any reason, this waiver of
           class actions/collective actions/representative actions is found to be unenforceable or
           invalid, then any such class, collective or representative action claim must be litigated
           and decided in a court of competent jurisdiction, and not in arbitration. Any issue
           concerning the enforceability or validity of this waiver must be decided by a court, and
           not by an arbitrator.

Claims Not Covered by this Agreement
The following matters are claims that are not covered by this Agreement and may be brought by
either party in a court of competent jurisdiction or tribunal:

        •   Claims for workers' compensation benefits.

        •   Claims for unemployment compensation benefits.

        •   Proceedings before the National Labor Relations Board, the Equal Employment
            Opportunity Commission, the Department of Labor, the Occupational Safety and Health
            Commission, or any other federal, state or local administrative agency. However, you
            understand that any Claim that is not finally resolved through the agency proceedings
            must be submitted to arbitration in accordance with this Agreement.

        •   Claims that are expressly precluded from arbitration by a governing federal statute or
            regulation or by a state law that is not preempted by the Federal Arbitration Act.
Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 9 of 26




         •    [Associates Outside California]: Any individual Claim that you may have against the
              Company or that the Company may have against you for injunctive relief that is based
              upon alleged unfair competition and/or the use and/or unauthorized disclosure of trade
              secrets or other confidential information.

         •    [Associates Inside California]: Applications to a court for provisional remedies may be
              made pursuant to Cal. Civ. Proc. Code Section 1281.8, upon the ground set forth in that
              Section.

Arbitration Procedures
The parties agree to use the American Arbitration Association ("AAA") to govern the arbitration
proceeding. The Arbitration must be conducted before a single arbitrator in the State where the
Associate was employed by the Company at the time the Claims arose. Any Arbitration will be in
accordance with the then current employment arbitration rules and procedures of AAAI, except to
the extent any such rules and/or procedures are in conflict with any express term of this Agreement,
in which case such term of this Agreement will control. The Arbitrator must have the authority to
entertain a motion to dismiss and/or a motion for summary judgment by any party and shall apply
the standards governing such motions under the Federal Rules of Civil Procedure.

Fees and Costs
If you make the Demand for Arbitration, you must pay the AAA filing fee; provided such fee does not
exceed the initial filing fee to commence an action in a court of competent jurisdiction, in which case
the excess of that amount will be paid by the Company. If the Company makes the Demand for
Arbitration, the Company must pay the entire AAA filing fee. The Company will pay any required
administrative fees of the Arbitrator for his or her services, as well as any additional fees unique to
arbitration. Each party will be responsible for paying his/her/its own attorney's fees and all other
costs and fees incurred in connection with the Arbitration.

To the extent that it results in a greater recovery for you, the Company agrees to waive the
limitations on the recovery of expert fees as an item of costs for reasonable expert fees incurred by
you in any Arbitration in which (i) you prevail in an amount greater than the amount of the last
settlement offer made by the Company, and (ii) such reasonable expert fees were incurred for an
expert report or expert testimony that was ultimately admitted into evidence and relied upon by the
Arbitrator in rendering the award.

Time Limitation for Commencing Arbitration
The parties are bound by the same statute of limitations that would have applied if the Claim was
made in an administrative or judicial forum. The date on which AAA receives written notice by the
party seeking arbitration stating that party's intention to arbitrate ("Demand for Arbitration") will
be considered the date of filing for purposes of the statute of limitations.

In the event you file a Demand for Arbitration with AAA, you understand that you must serve the
Company with a copy of the Demand for Arbitration within ten (10) calendar days of filing with AAA,
directing the copy to the Company's General Counsel, 4300 TBC Way, Palm Beach Gardens, FL
33410. In the event the Company files a Demand for Arbitration, the Company must serve you
with a copy of the Demand for Arbitration within ten (10) calendar days of filing with AAA, directing


         1 A copy of the AAA rules and procedures can be directly viewed and printed from the Company's online portal.
Additionally, information about AAA and its rules and procedures can be found at www.adf.org.
Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 10 of 26




the copy to the last address you provided to the Company in writing.

All service hereunder must be made by United States certified or registered mail, return receipt
requested.

Judicial Enforcement
Either party may bring an action in any court of competent jurisdiction (1) to compel Arbitration
under this Agreement, and (2) to enforce or vacate an arbitration award, if provided for by the laws
of such jurisdiction.

Damages and Other Relief
Any Claim arbitrated hereunder is subject to the same limitations regarding damages and ability to
obtain other relief, as well as affirmative rights to damages and other relief, as would have applied
if the Claim was initiated in a judicial forum.

Survival: Modification: and Termination
This Agreement will survive the termination of your employment with the Company, as well as the
termination or expiration of any benefit of such employment. In the event that your employment
with the Company is severed or terminated and you are subsequently re-employed by the Company,
this Agreement will remain in full force and effect during such subsequent employment and will
survive the termination of such subsequent employment.

This Agreement supersedes any prior agreement between the parties concerning the subject matter
of dispute resolution. This Agreement may only be modified, revoked and/or terminated by a
subsequent written agreement that specifically states the parties' intent to modify, revoke and/or
terminate this Agreement and that is signed by you and an Executive Vice President of the Company.

Construction
If any court of competent jurisdiction finds any part or provision of this Agreement void, voidable or
otherwise unenforceable, such a finding will not affect the validity of the remainder of the
Agreement and all other parts and provisions will remain in full force and effect.

Governing Law
This Agreement is governed by the Federal Arbitration Act and by the laws of the state where the
Claim arose, to the extent those laws are not inconsistent with and/or preempted by the Federal
Arbitration Act.

At-Will Employment
Your employment is not for any specific duration and either the Company or you may terminate
your employment relationship at any time, with or without cause and with or without notice. This
express at-will acknowledgement supersedes any and all prior representations and understandings,
whether written or oral, express or implied, between the Company and you.
Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 11 of 26




YOUR SIGNATURE BELOW ATTESTS TO THE FACT THAT:

       1. YOU HAVE READ, UNDERSTAND, AND AGREE TO BE LEGALLY BOUND TO ALL OF THE
          ABOVE TERMS.

       2.   YOU ARE SIGNING THIS AGREEMENT VOLUNTARILY.

       3.   YOU ARE NOT RELYING ON ANY PROMISES OR REPRESENTATIONS BY THE COMPANY
            EXCEPT THOSE CONTAINED IN THIS AGREEMENT,

       4.   YOU UNDERSTAND THAT BY SIGNING THIS AGREEMENT, YOU ARE GIVING UP THE
            RIGHT TO HAVE CLAIMS DECIDED BY A COURT OR A JURY.

       5.   YOU HAVE BEEN GIVEN THE OPPORTUNITY TO DISCUSS TIIIS AGREEMENT WITH
            PRIVATE LEGAL COUNSEL AT YOUR EXPENSE.



APPLICANT/EMPLOYEE                                  COMPANY




Signature                                           Title




Print Name




Employee Number




Date
Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 12 of 26




            ATTACHMENT 2
    Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 13 of 26




CORPOR." dE ION


          To:               All TBC Associates-Enterprise

          From:             Human Resources

          Date:             March 13, 2014

          Subject:          **IMPORTANT** Document Acknowledgement in SAP Portal



          Human Resources announces a new addition to your Employee Self Service (ESS) Portal that
          provides all Associates the ability to review and acknowledge TBC policies, processes, and
          documents. We are implementing the Portal Acknowledgment process with two important
          documents - the TBC Code of Conduct and the Mutual Agreement to Arbitrate Claims and
          Waiver of Class/Collective Actions.



          TBC CODE OF CODUCT ("Code"):

                •   What is the Code?
                        o   The Code covers a wide range of business policies and procedures Associates
                            may encounter while working for TBC. Its purpose is to set forth basic principles
                            and guidelines that all Associates are expected to follow while conducting
                            business on behalf of TBC, whether on or off company premises.

                •   Who is required to acknowledge the Code?
                        o   All current salaried exempt Associates and California Store Managers are
                            required to acknowledge the 2014 Code exclusively through the SAP Portal.

          MUTUAL AGREEMENT TO ARBITRATE CLAIMS and WAIVER OF CLASS/COLLECTIVE ACTIONS
          ("Agreement"):

                •   What is the Agreement?
                        o   The Arbitration Agreement is a contract between Associates and the
                            Company. Its purpose is to allow any Associate to bring any legal claim(s) against
                            the Company in a quicker, less formal, and typically less expensive forum than
                            the traditional filing of a lawsuit in court.

                •    Who is required to acknowledge the Agreement?
                       o All current employees hired prior to October 15, 2013 are required to
                            acknowledge Agreement.

          TIMELINE AND ACKNOWLEDGMENT DIRECTION:

                •    When are the Acknowledgments due?


                        o   All Acknowledgments must be completed no later than Friday March 21, 2014.



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Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 14 of 26




            ATTACHMENT 3
   Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 15 of 26




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                                  Documents and Acknowledgements Portal Directions:

             1.      Log onto the SAP Portal - http://portal.tbccorp.com/irj/portal
                     User Name: Employee Number
                     Password: Enter your specific password. Use the password reset option if you do not
                     remember your password
             2.      Select Employee Self Service Tab (ESS)
             3.      Select Documents and Acknowledgements tab to view pending items
             4.      Click on the document link and review the PDF document in its entirety
             5.      At the bottom of the page, Enter Employee Number and last four digits of Social Security
                     Number for your electronic signature
             6.      A message will appear indicating the acknowledgment has been recorded
             7.      Close Window



          Notes:
                     •   Use the Standard TBC IE (Internet Explorer) browser.


                     •   First time users of the Portal or use of the Password Reset option require your entry
                         of your default password which is the First two letters of your Last Name in caps
                         and the last 4 digits of SSN" as logon.

                     •   The page will have double scroll bars to the right. Use the scroll bar to the far right
                         to scroll down to the Acknowledgement section.


                     •   If you would like to see a history of all acknowledged documents, remove the
                         check mark at the Display only unacknowledged documents option.


                     •   If the message "Personnel number(s) cannot be locked" appears, payroll processing
                         is taking place. Please close the document and try again later.

                     •   See below for screen shots that display the process

          Questions regarding SAP Portal access should be directed to the Help Desk at:
          561-383-3000, extension #2217 or 800-344-7029. Questions regarding the content of the
          Acknowledgments can be directed to Human Resources.

          Thank you in advance for your support and compliance with this important initiative.



          Screenshots: See following pages for screenshot directions.




                     4280 Professional Center Drive • Palm Beach Gardens, FL 33410 • 561-383-3100
            Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 16 of 26



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       Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 17 of 26



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                                                                                       TIIC Code of Conduct




                                             I.     POLICY STATEMLNT

                                             It is the policy of TIC Corporation and its affiliated companies (collectively "IBC') and its Directom,
                                             Officers, and Associates to comply with all taws governing its operations, to adhere to high ethical
                                             standards of business conduct, and to maintain a reputation for honest and fair dealings.

                                             This Code of Business Conduct (-Cede") sets finite basic principles and guidelines fur Diteetors,
                                             Officers, and all employees ("Associates") involved in TBC's affairs and business. All activities
                                             conducted on behalf of MC. whether on Of off company premises, shall be conducted in accordance
                                             with this Cade,

                                             This Code covers a wide range of business policies and procedures. It does not cover every issue that
                                             may arise, hut it dews serve as a basic guide for all Directors, Officers, and Associates of TFIC,

                                             IBC has designated event persons to assist in resolving questions regarding the interpretation and
                                             application of this Code, 'IBC has also specified a procedure for Associates to report anonymously any
                                             concerns they may have with respect to adherence to this Code. Section XIV of this Code contains a list
                                             of the persons to contact and the procedure far anonymous inquiries and reporting,


                                             II.    CakIPLIA NCH WITII LAWS

                                             Obeying both letter and spirit of the lows that 'apply to our besiness is the foundation upon which 'MC's
                                             ethical standards are built, MI Directors, Officers, and Associates must respect and obey the laws, rules
                                                                                                                                                                                      I-
                                             arid regulations of the cities, states, and countries in which TIC operates. Although Associates and
                                             Officers are not expected to know the details of each of Mese laws, rules and, regulations, it is important
                                             to know enough to determine when to seek advice from supervisors, managers, or company executives.
                                             If a law, rule or regulation is unclear to you nr you are unclear whether it applies, you should seek advice
                                             from Me mast senior level executive within your deliarlinent or TBC's General Counsel or other itiember
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                At the end of each document Is where you will electronically acknowledge.


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Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 18 of 26




            ATTACHMENT 4
    Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 19 of 26



                         MUTUAL AGREEMENT TO ARBITRATE CLAIMS and 
                         MUTUALAGREEMENTTOARBITRATECLAIMSand
                            WAIVEROFCLASS/COLLECTIVEACTIONS
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one of its affiliated entities, and for the mutual promises herein, Applicant/Employee   Ȁȋ
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                                      "you") and the Company (collectively            "the parties") agree that: 
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                                              set forth   the
                                                              section
                                                                     titled
                                                                               "Claims
                                                                                       ̶ Not
                                                                                                  Not 
                                                                                                        Covered      
                                                                                                                    by this
             ̶ǡ 
             Agreement",        and ȋȌ
                                     (b)   required
                                         as otherwise       by   applicable
                                                                               ǡ
                                                                                           law, 
                                                                                                 any and all
                                                                                                              disputes,
                                                                                                                  ǡ
              ǡ complaints
             claims,        ȋ̶̶ȌȀ
                                     or controversies    ("Claims") between you and TBC Corporation and/or
              of
             any    its
                       parents,
                           ǡsubsidiaries,
                                      ǡaffiliates,
                                                      ǡ agents,
                                                                   ǡ officers,
                                                                               ǡ   ǡ 
                                                                                          directors,  employees Ȁ
                                                                                                                     and/or
             ǡ          ǡȋ
             any of its benefit plans, benefit plan fiduciaries, sponsors or administrators (collectively         
              individually
             and    the ̶̶Ȍǡ
                                          "Company"),      
                                                              thatin
                                                                         any
                                                                               way
                                                                                     arise
                                                                                             outof 
                                                                                                       or 
                                                                                                          relate to your
                                                                                                                       
             ǡ
             employment,     the 
                                     terms and conditions
                                                      of   your
                                                                         employment,
                                                                                ǡ your  application
                                                                                                            for
                                                                                                                         
             
             employment Ȁ         termination
                               and/or the    of  your
                                                                 employment,
                                                                        ǡ will  be
                                                                                                 resolved
                                                                                                     by
                                                                                                                binding
                                                                                                                    
             
             arbitration    and NOT by a court Ǥ
                                                     or jury. As 
                                                                    such,ǡ
                                                                            the Company and you agree to forever
             
             waive   and relinquish their right to bring claims  
                                                                         against the other in a court Ǥ
                                                                                                           of law.

         ʹǤ
         2. 
            To     
                  the maximum        extent 
                                             permitted by ǡ
                                                               law,    agree
                                                                     the parties      that
                                                                                             this
                                                                                                   Agreement
                                                                                                          is
            
            equally binding on any person who represents or seeks to represent you or the Company
            
            in  a lawsuit against the other in a court Ǥ
                                                              of law. That
                                                                         ǡ
                                                                              is, the parties agree that no Claims
            
            may be   initiated
                          or
                                    maintained
                                         on aclass
                                                                action
                                                                       basis,
                                                                                ǡcollective
                                                                                            action
                                                                                                       basis,
                                                                                                             ǡ or
                                                                                                                     
            
            representative action    Ǥ
                                        basis either in court     or arbitration. Any 
                                                                                           Claims must be brought
             aparty's
            in     ǯindividual
                              capacity,
                                            ǡ    claim
                                                      and such      
                                                                          may 
                                                                                not be joined
                                                                                           or
                                                                                                   consolidated
                                                                                                         in
                                                                                                                     
            Ǥ
            arbitration    with Claims brought by other individuals. If,ǡǡ
                                                                                     for any reason, this waiver of
              actions/collective
            class     Ȁ   actions/representative
                                            Ȁ actions 
                                                                                  is 
                                                                                     found   unenforceable
                                                                                             to be    
                                                                                                                     or
            ǡ 
            invalid,   then      class,
                              any such    ǡ collective
                                                    
                                                              or        claim
                                                                 representative action         
                                                                                                    must belitigated
                                                                                                              
             decided
            and      
                              in    of
                                 a court    competent
                                                      ǡ 
                                                             jurisdiction,    and
                                                                                    not
                                                                                         inǤ
                                                                                             arbitration. Any
                                                                                                             issue
                                                                                                                  
              
            concerning                 
                            the enforceability    or validity of this waiver must be decided       ǡ
                                                                                                       by a court,  and
            Ǥ
            not by an arbitrator.

Claims   Not Covered by this Agreement 
ClaimsNotCoveredbythisAgreement

The 
     following
                 matters    
                          are claims   that 
                                            are     by
                                                 not covered     this
                                                                     Agreement
                                                                           
                                                                                       and 
                                                                                            may be  
                                                                                                      brought by
 
either party in a court     
                        of competent             ǣ
                                        jurisdiction  or tribunal:

        •x ̵     Ǥ
            Claims for workers' compensation        benefits.

        •x         Ǥ
            Claims for unemployment compensation            benefits.

        •x     
            Proceedings     before     Labor
                                     the National       Relations
                                                                 Board,
                                                                             ǡ the
                                                                                      Equal
                                                                                           Employment
                                                                                                    
            ǡ
            Opportunity Commission, the            ǡ
                                              Department of Labor,                
                                                                          the Occupational   Safety     
                                                                                                      and Health
            ǡǡ
            Commission, or any other federal, state or local       
                                                                       administrative agency.Ǥ  However,
                                                                                                     ǡ
                                                                                                             you
               any
            understand that     Claim
                                     that
                                            is
                                                  not
                                                     finally
                                                          resolved
                                                                   through
                                                                             the
                                                                                       agency
                                                                                            proceedings
                                                                                                      
                     Ǥ
            must be submitted to arbitration in accordance         with this Agreement. 

        •x 
            Claims
                     that 
                          are 
                               expressly     
                                          precluded     from 
                                                              arbitration 
                                                                            by   
                                                                                a governing   federal 
                                                                                                       statute 
                                                                                                               or
            
            regulation or by a state law that is not preempted by the Federal  
                                                                                       Arbitration ActǤ


      Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 20 of 26



              •x      ȏ   
                      [Associates   OutsideȐǣ
                                               California]: Any
                                                              individual
                                                                   
                                                                              Claim 
                                                                                      that 
                                                                                            you 
                                                                                                may 
                                                                                                      have 
                                                                                                              against 
                                                                                                                        the
                                     
                      Company or that the Company may have against you for injunctive relief that is based    
                          ȀȀ
                      upon alleged unfair competition      and/or the use and/or unauthorized disclosure 
                                                                                                                   of trade
                       
                      secrets            Ǥ
                              or other confidential   information.  

              •x      ȏ  Inside
                      [Associates  Ȑǣ
                                          California]:Applications
                                                          
                                                                     to a court for provisional remedies may be
                      ǤǤ
                      made pursuant to Cal. Civ. Proc.Ǥ  ͳʹͺͳǤͺǡ
                                                        Code Section    1281.8, upon the ground set forth in that
                       Ǥ 
                      Section.

Arbitration   Procedures 
ArbitrationProcedures
 agree
The parties   touse
                          the
                               American
                                     Arbitration
                                              Association
                                                            ("AAA")
                                                                        ȋ̶̶Ȍ 
                                                                                   to 
                                                                                      govern 
                                                                                              the 
                                                                                                   arbitration
  Ǥ          
proceeding. The Arbitration must be conducted before a single arbitrator in the State where the
 Ǥ
Associate   was employed by the Company at the time the Claims arose. Any        
                                                                                       Arbitration will be in
  
accordance                      
              with the then current    employment arbitration rules and procedures
                                                                                         of AAA1, ͳǡ 
                                                                                                     except  to

the extent any suchȀ      
                       rules and/or procedures             ǡ
                                                 are in conflict  with any express term of this Agreement,

in which case
             
                 such  term of this Agreement will Ǥ
                                                       control. The
                                                                 
                                                                     Arbitrator must have the authority to
Ȁ
entertain a motion to dismiss and/or a motion for summary judgment by any party and shall apply

the standards governing such        
                                   motions under the Federal                      Ǥ 
                                                              Rules of Civil Procedure.

Fees and Costs 
FeesandCosts
IfǡǢ
    you make the Demand for Arbitration, you must pay the AAA filing fee; provided such                             
                                                                                                                      fee does not

exceed        
            the initial filing fee to commence           an action   
                                                                        in a court       
                                                                                     of competent             ǡ
                                                                                                     jurisdiction,  in which  case
                                                                                                                                 
 excess
the      
                 of    
                    that amount        will 
                                             be 
                                                  paid 
                                                         by 
                                                              the Ǥ
                                                                    Company. If the Company
                                                                                            makesthe
                                                                                                                 Demand
                                                                                                                       for 
ǡǤ
Arbitration,      the Company must pay the entire AAA filing fee. The                   
                                                                                              Company will pay any required

administrative       fees of the Arbitrator for his or her services,             ǡ
                                                                                     as well as any additional fees unique to
Ǥ Each
arbitration.        ȀȀ̵
                          party will be responsible for paying his/her/its own attorney's fees and all other
  
costs                   
          and fees incurred             Ǥ
                                  in connection      with the Arbitration. 


To        that
      the extent       itresults
                                  inagreater
                                                    recovery
                                                                 for  you,
                                                                                   ǡthe
                                                                                         Company
                                                                                               agrees
                                                                                                            to
                                                                                                                     waive
                                                                                                                          the
                                                                                                                                  
                         
limitations on the recovery of expert fees as an item of costs for reasonable expert fees incurred by                     
 
you          Arbitration
        in any      in 
                                       which ȋȌ
                                                (i) 
                                                     you 
                                                            prevail in 
                                                                          an 
                                                                               amount 
                                                                                         greater 
                                                                                                  than     
                                                                                                         the amount     of   
                                                                                                                            the last
 offer
settlement        
                        made by    the
                                       Company,
                                           ǡ   and ȋȌ
                                                                  (ii) 
                                                                       such 
                                                                               reasonable 
                                                                                             expert 
                                                                                                     fees 
                                                                                                           were     for
                                                                                                                  incurred    an
                                                                                                                                   

expert report or expert testimony that was ultimately admitted into evidence    and relied upon by the
Ǥ
Arbitrator      in rendering the award. 

Time      Limitation for Commencing Arbitration 
TimeLimitationforCommencingArbitration

The parties are   
                       bound by the same statute of limitations that would have applied if the Claim was

made in an administrative or judicial           Ǥ
                                                     forum. The   
                                                                       date on which        
                                                                                         AAA receives      written notice
                                                                                                                             by the
̵ȋ̶̶Ȍ
party seeking arbitration stating that party's intention to arbitrate ("Demand for Arbitration") will
    Ǥ
be considered       the date of filing for purposes of the statute of limitations. 

In   you
     the event     file
                          aDemand
                                   for  Arbitration
                                                    with  AAA,
                                                                           ǡ 
                                                                                    you
                                                                                         understandthat 
                                                                                                             you 
                                                                                                                   must 
                                                                                                                          serve 
                                                                                                                                  the

Company with a copy      ȋͳͲȌ
                                 of the Demand for Arbitration within ten (10) calendar        ǡ
                                                                                                       days of filing with AAA,

directing the
               copy
                     to theCompany's
                                       ̵General Counsel,
                                                                     ǡ4300Ͷ͵ͲͲTBC
                                                                                        Way,
                                                                                               ǡPalm
                                                                                                      Beach
                                                                                                              Gardens,
                                                                                                                        ǡFL  
͵͵ͶͳͲǤ
33410. In      
                the     
                     event     the 
                                    Company          a 
                                                   files        for
                                                             Demand         Arbitration,
                                                                                 ǡthe
                                                                                                Company
                                                                                                     must serve
                                                                                                                          you
                                                                                                                                 

with        ȋͳͲȌ
        a copy   of the Demand for Arbitration within ten (10) calendar            ǡ
                                                                                            days of filing with AAA, directing  

              11
            A copy of the AAA rules and procedures can be directly viewed
                                                                     viewed and
                                                                            and printed
                                                                                printed from
                                                                                        from the Company’s
                                                                                                 Company's online portal.
Additionally, information
Additionally,  information about AAA and its rules
                                             rules and
                                                   and procedures can be found at www.adr.org.
    Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 21 of 26



copy
the  Ǥ
         to the last address you provided to the Company in writing. 

 
All  service 
               hereunder 
                             must   by
                                   be made     United
                                                      
                                                           States certified  or 
                                                                                 registered ǡ
                                                                                             mail,   
                                                                                                   return receipt
Ǥ
requested. 

ludicial   Enforcement
JudicialEnforcement
 
Either party may bring
                      an
                              action
                                   in
                                         any
                                            court
                                                   of
                                                        competent
                                                             jurisdiction
                                                                          (1)
                                                                                      ȋͳȌto
                                                                                           compel
                                                                                               Arbitration
                                                                                                      
ǡȋʹȌ
under this Agreement, and (2) to enforce          ǡ
                                                  or vacate  an arbitration award, if provided for by the laws

of such  Ǥ  
         jurisdiction.

Damages and Other Relief 
DamagesandOtherRelief

Any   Claim arbitrated hereunder is subject
                                                   to the same limitations regarding damages and ability to
ǡǡ
obtain other relief, as well as affirmative rights to damages and other relief, as would have applied

if the Claim was initiated in a judicialǤ
                                            forum. 

Survival;  Modification: and Termination 
Survival;Modification;andTermination
ǡ
This Agreement will survive the termination of your employment with the Company, as well as the

termination   or expiration of any benefit of such  Ǥ
                                                        employment. In
                                                                           the event that your employment
Ǧǡ
with  the Company is severed or terminated and you are subsequently re-employed by the Company,
 Agreement
this   
                  will 
                       remain   
                               in full       
                                        force         
                                               and effect             subsequent
                                                            during such   employment
                                                                                       and
                                                                                                  will
                                                                                                      

survive  the termination of suchǤ
                                  subsequent employment.  


This Agreement supersedes any prior agreement between the parties concerning               
                                                                                                         the subject
                                                                                                                       matter

of 
     dispute Ǥ     Agreement
              resolution. This        may   only
                                                            bemodified,
                                                                       ǡ 
                                                                                     revoked Ȁ        by
                                                                                                and/or terminated          a
 written
subsequent      agreement
                           that
                                        specifically
                                                 
                                                               states 
                                                                      the ̵   to
                                                                           parties' intent    modify,
                                                                                                 ǡ 
                                                                                                             revoke Ȁ
                                                                                                                       and/or

terminate   this Agreement and that is signed by you and an Executive            
                                                                                       ViceǤ
                                                                                             President of the Company. 

Construction 
Construction
If 
    any court      
               of competent              ǡ
                                 jurisdiction   finds any part or provision of this Agreement void, voidable or

otherwise          ǡ such
              unenforceable,           a 
                                              finding
                                                         will
                                                                not   
                                                                    affect     the 
                                                                                   validityof      
                                                                                                  the remainder            
                                                                                                                       of the

Agreement     and all other parts and provisions will remain in full force    and effect.Ǥ 

Governing Law 
GoverningLaw

This Agreement is governed by the Federal       
                                                         Arbitration Act    
                                                                               and by the laws of the state where the

Claimǡ
         arose,
                 to 
                     the 
                          extent 
                                   those 
                                          laws 
                                                  are 
                                                        not    
                                                            inconsistent     with Ȁ     by
                                                                                    and/or preempted          the
                                                                                                                 Federal
                                                                                                                       

Arbitration      Ǥ 
              Act.

At-Will   Employment
AtǦWillEmployment
 
Your    employment    is 
                            not 
                                 for 
                                     any        
                                          specific     duration 
                                                                  and 
                                                                       either theCompany
                                                                                             may
                                                                                                  or you      terminate
                                                                                                                   
ǡ
your   employment relationship at any time, with or without 
                                                                              cause and with or without notice.     Ǥ  This
                                                                                                                          
Ǧ      ǡ
express at-will acknowledgement            supersedes any and all prior representations and understandings,
ǡǡǤ
whether   written or oral, express or implied, between the Company and you.   





                                     
    Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 22 of 26



SIGNATURE
YOUR      FACT
                BELOW ATTESTS TO THE   ǣ
                                          THAT:

        ͳǤ YOU
        1.  HAVE
                 ǡǡ 
                     READ, UNDERSTAND, AND AGREE          
                                                 TO BE LEGALLY BOUND TO ALL OF 
                                                                               THE
           Ǥ
           ABOVE  TERMS.

         ʹǤ 
         2. YOU          
                ARE SIGNING    
                            THIS   
                                 AGREEMENT          Ǥ
                                           VOLUNTARILY.

         ͵Ǥ 
         3. YOU               
                ARE NOT RELYING               
                                ON ANY PROMISES                  
                                                  OR REPRESENTATIONS      
                                                                     BY THE COMPANY
             
            EXCEPT THOSE        IN
                         CONTAINED     
                                       THIS   Ǥ
                                            AGREEMENT.

         ͶǤ  
         4. YOU  UNDERSTAND        
                                 THAT   BY      
                                           SIGNING       AGREEMENT,
                                                     THIS   ǡ 
                                                                       YOU       
                                                                            ARE GIVING       
                                                                                        UP THE
            
            RIGHT   
                   TO HAVE       
                             CLAIMS       
                                    DECIDED                      Ǥ
                                               BY A COURT OR A JURY.
            
         ͷǤ  HAVE
         5. YOU          THE
                         BEEN GIVEN     OPPORTUNITY
                                              TO DISCUSS
                                                                 THIS
                                                                         AGREEMENT
                                                                               WITH
                                                                                           
             
            PRIVATE  LEGALǤ
                             COUNSEL AT YOUR EXPENSE. 
                                        

APPLICANT 
APPLICANT                                


̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴
alvin
alvin street                                          

Signature                                           


alvin street
̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴          

Print Name                                          


̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴
  5/20/16, 11:29:36 AM

Date
    Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 23 of 26



                         MUTUAL AGREEMENT TO ARBITRATE CLAIMS and 
                         MUTUALAGREEMENTTOARBITRATECLAIMSand
                            WAIVEROFCLASS/COLLECTIVEACTIONS
                            WAIVER OF CLASS/COLLECTIVE ACTIONS

         
        As       
            a condition     of 
                                my 
                                    employment Ȁ          employment
                                                    and/or continued         with TBC Corporation
                                                                                                           or
ǡǡ
one of its affiliated entities, and for the mutual promises herein, Applicant/Employee   Ȁȋ
                                                                                                           (referred to in
̶
this Agreement as "Associate",̶ǡ̶̶Ȍȋ            ̶̶Ȍǣ
                                      "you") and the Company (collectively            "the parties") agree that: 

        ͳǤ 
        1.         ȋȌ
             Except      (a)   
                             as expressly          in
                                              set forth   the
                                                              section
                                                                     titled
                                                                               "Claims
                                                                                       ̶ Not
                                                                                                  Not 
                                                                                                        Covered      
                                                                                                                    by this
             ̶ǡ 
             Agreement",        and ȋȌ
                                     (b)   required
                                         as otherwise       by   applicable
                                                                               ǡ
                                                                                           law, 
                                                                                                 any and all
                                                                                                              disputes,
                                                                                                                  ǡ
              ǡ complaints
             claims,        ȋ̶̶ȌȀ
                                     or controversies    ("Claims") between you and TBC Corporation and/or
              of
             any    its
                       parents,
                           ǡsubsidiaries,
                                      ǡaffiliates,
                                                      ǡ agents,
                                                                   ǡ officers,
                                                                               ǡ   ǡ 
                                                                                          directors,  employees Ȁ
                                                                                                                     and/or
             ǡ          ǡȋ
             any of its benefit plans, benefit plan fiduciaries, sponsors or administrators (collectively         
              individually
             and    the ̶̶Ȍǡ
                                          "Company"),      
                                                              thatin
                                                                         any
                                                                               way
                                                                                     arise
                                                                                             outof 
                                                                                                       or 
                                                                                                          relate to your
                                                                                                                       
             ǡ
             employment,     the 
                                     terms and conditions
                                                      of   your
                                                                         employment,
                                                                                ǡ your  application
                                                                                                            for
                                                                                                                         
             
             employment Ȁ         termination
                               and/or the    of  your
                                                                 employment,
                                                                        ǡ will  be
                                                                                                 resolved
                                                                                                     by
                                                                                                                binding
                                                                                                                    
             
             arbitration    and NOT by a court Ǥ
                                                     or jury. As 
                                                                    such,ǡ
                                                                            the Company and you agree to forever
             
             waive   and relinquish their right to bring claims  
                                                                         against the other in a court Ǥ
                                                                                                           of law.

         ʹǤ
         2. 
            To     
                  the maximum        extent 
                                             permitted by ǡ
                                                               law,    agree
                                                                     the parties      that
                                                                                             this
                                                                                                   Agreement
                                                                                                          is
            
            equally binding on any person who represents or seeks to represent you or the Company
            
            in  a lawsuit against the other in a court Ǥ
                                                              of law. That
                                                                         ǡ
                                                                              is, the parties agree that no Claims
            
            may be   initiated
                          or
                                    maintained
                                         on aclass
                                                                action
                                                                       basis,
                                                                                ǡcollective
                                                                                            action
                                                                                                       basis,
                                                                                                             ǡ or
                                                                                                                     
            
            representative action    Ǥ
                                        basis either in court     or arbitration. Any 
                                                                                           Claims must be brought
             aparty's
            in     ǯindividual
                              capacity,
                                            ǡ    claim
                                                      and such      
                                                                          may 
                                                                                not be joined
                                                                                           or
                                                                                                   consolidated
                                                                                                         in
                                                                                                                     
            Ǥ
            arbitration    with Claims brought by other individuals. If,ǡǡ
                                                                                     for any reason, this waiver of
              actions/collective
            class     Ȁ   actions/representative
                                            Ȁ actions 
                                                                                  is 
                                                                                     found   unenforceable
                                                                                             to be    
                                                                                                                     or
            ǡ 
            invalid,   then      class,
                              any such    ǡ collective
                                                    
                                                              or        claim
                                                                 representative action         
                                                                                                    must belitigated
                                                                                                              
             decided
            and      
                              in    of
                                 a court    competent
                                                      ǡ 
                                                             jurisdiction,    and
                                                                                    not
                                                                                         inǤ
                                                                                             arbitration. Any
                                                                                                             issue
                                                                                                                  
              
            concerning                 
                            the enforceability    or validity of this waiver must be decided       ǡ
                                                                                                       by a court,  and
            Ǥ
            not by an arbitrator.

Claims   Not Covered by this Agreement 
ClaimsNotCoveredbythisAgreement

The 
     following
                 matters    
                          are claims   that 
                                            are     by
                                                 not covered     this
                                                                     Agreement
                                                                           
                                                                                       and 
                                                                                            may be  
                                                                                                      brought by
 
either party in a court     
                        of competent             ǣ
                                        jurisdiction  or tribunal:

        •x ̵     Ǥ
            Claims for workers' compensation        benefits.

        •x         Ǥ
            Claims for unemployment compensation            benefits.

        •x     
            Proceedings     before     Labor
                                     the National       Relations
                                                                 Board,
                                                                             ǡ the
                                                                                      Equal
                                                                                           Employment
                                                                                                    
            ǡ
            Opportunity Commission, the            ǡ
                                              Department of Labor,                
                                                                          the Occupational   Safety     
                                                                                                      and Health
            ǡǡ
            Commission, or any other federal, state or local       
                                                                       administrative agency.Ǥ  However,
                                                                                                     ǡ
                                                                                                             you
               any
            understand that     Claim
                                     that
                                            is
                                                  not
                                                     finally
                                                          resolved
                                                                   through
                                                                             the
                                                                                       agency
                                                                                            proceedings
                                                                                                      
                     Ǥ
            must be submitted to arbitration in accordance         with this Agreement. 

        •x 
            Claims
                     that 
                          are 
                               expressly     
                                          precluded     from 
                                                              arbitration 
                                                                            by   
                                                                                a governing   federal 
                                                                                                       statute 
                                                                                                               or
            
            regulation or by a state law that is not preempted by the Federal  
                                                                                       Arbitration ActǤ


      Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 24 of 26



              •x      ȏ   
                      [Associates   OutsideȐǣ
                                               California]: Any
                                                              individual
                                                                   
                                                                              Claim 
                                                                                      that 
                                                                                            you 
                                                                                                may 
                                                                                                      have 
                                                                                                              against 
                                                                                                                        the
                                     
                      Company or that the Company may have against you for injunctive relief that is based    
                          ȀȀ
                      upon alleged unfair competition      and/or the use and/or unauthorized disclosure 
                                                                                                                   of trade
                       
                      secrets            Ǥ
                              or other confidential   information.  

              •x      ȏ  Inside
                      [Associates  Ȑǣ
                                          California]:Applications
                                                          
                                                                     to a court for provisional remedies may be
                      ǤǤ
                      made pursuant to Cal. Civ. Proc.Ǥ  ͳʹͺͳǤͺǡ
                                                        Code Section    1281.8, upon the ground set forth in that
                       Ǥ 
                      Section.

Arbitration   Procedures 
ArbitrationProcedures
 agree
The parties   touse
                          the
                               American
                                     Arbitration
                                              Association
                                                            ("AAA")
                                                                        ȋ̶̶Ȍ 
                                                                                   to 
                                                                                      govern 
                                                                                              the 
                                                                                                   arbitration
  Ǥ          
proceeding. The Arbitration must be conducted before a single arbitrator in the State where the
 Ǥ
Associate   was employed by the Company at the time the Claims arose. Any        
                                                                                       Arbitration will be in
  
accordance                      
              with the then current    employment arbitration rules and procedures
                                                                                         of AAA1, ͳǡ 
                                                                                                     except  to

the extent any suchȀ      
                       rules and/or procedures             ǡ
                                                 are in conflict  with any express term of this Agreement,

in which case
             
                 such  term of this Agreement will Ǥ
                                                       control. The
                                                                 
                                                                     Arbitrator must have the authority to
Ȁ
entertain a motion to dismiss and/or a motion for summary judgment by any party and shall apply

the standards governing such        
                                   motions under the Federal                      Ǥ 
                                                              Rules of Civil Procedure.

Fees and Costs 
FeesandCosts
IfǡǢ
    you make the Demand for Arbitration, you must pay the AAA filing fee; provided such                             
                                                                                                                      fee does not

exceed        
            the initial filing fee to commence           an action   
                                                                        in a court       
                                                                                     of competent             ǡ
                                                                                                     jurisdiction,  in which  case
                                                                                                                                 
 excess
the      
                 of    
                    that amount        will 
                                             be 
                                                  paid 
                                                         by 
                                                              the Ǥ
                                                                    Company. If the Company
                                                                                            makesthe
                                                                                                                 Demand
                                                                                                                       for 
ǡǤ
Arbitration,      the Company must pay the entire AAA filing fee. The                   
                                                                                              Company will pay any required

administrative       fees of the Arbitrator for his or her services,             ǡ
                                                                                     as well as any additional fees unique to
Ǥ Each
arbitration.        ȀȀ̵
                          party will be responsible for paying his/her/its own attorney's fees and all other
  
costs                   
          and fees incurred             Ǥ
                                  in connection      with the Arbitration. 


To        that
      the extent       itresults
                                  inagreater
                                                    recovery
                                                                 for  you,
                                                                                   ǡthe
                                                                                         Company
                                                                                               agrees
                                                                                                            to
                                                                                                                     waive
                                                                                                                          the
                                                                                                                                  
                         
limitations on the recovery of expert fees as an item of costs for reasonable expert fees incurred by                     
 
you          Arbitration
        in any      in 
                                       which ȋȌ
                                                (i) 
                                                     you 
                                                            prevail in 
                                                                          an 
                                                                               amount 
                                                                                         greater 
                                                                                                  than     
                                                                                                         the amount     of   
                                                                                                                            the last
 offer
settlement        
                        made by    the
                                       Company,
                                           ǡ   and ȋȌ
                                                                  (ii) 
                                                                       such 
                                                                               reasonable 
                                                                                             expert 
                                                                                                     fees 
                                                                                                           were     for
                                                                                                                  incurred    an
                                                                                                                                   

expert report or expert testimony that was ultimately admitted into evidence    and relied upon by the
Ǥ
Arbitrator      in rendering the award. 

Time      Limitation for Commencing Arbitration 
TimeLimitationforCommencingArbitration

The parties are   
                       bound by the same statute of limitations that would have applied if the Claim was

made in an administrative or judicial           Ǥ
                                                     forum. The   
                                                                       date on which        
                                                                                         AAA receives      written notice
                                                                                                                             by the
̵ȋ̶̶Ȍ
party seeking arbitration stating that party's intention to arbitrate ("Demand for Arbitration") will
    Ǥ
be considered       the date of filing for purposes of the statute of limitations. 

In   you
     the event     file
                          aDemand
                                   for  Arbitration
                                                    with  AAA,
                                                                           ǡ 
                                                                                    you
                                                                                         understandthat 
                                                                                                             you 
                                                                                                                   must 
                                                                                                                          serve 
                                                                                                                                  the

Company with a copy      ȋͳͲȌ
                                 of the Demand for Arbitration within ten (10) calendar        ǡ
                                                                                                       days of filing with AAA,

directing the
               copy
                     to theCompany's
                                       ̵General Counsel,
                                                                     ǡ4300Ͷ͵ͲͲTBC
                                                                                        Way,
                                                                                               ǡPalm
                                                                                                      Beach
                                                                                                              Gardens,
                                                                                                                        ǡFL  
͵͵ͶͳͲǤ
33410. In      
                the     
                     event     the 
                                    Company          a 
                                                   files        for
                                                             Demand         Arbitration,
                                                                                 ǡthe
                                                                                                Company
                                                                                                     must serve
                                                                                                                          you
                                                                                                                                 

with        ȋͳͲȌ
        a copy   of the Demand for Arbitration within ten (10) calendar            ǡ
                                                                                            days of filing with AAA, directing  

              11
            A copy of the AAA rules and procedures can be directly viewed
                                                                     viewed and
                                                                            and printed
                                                                                printed from
                                                                                        from the Company’s
                                                                                                 Company's online portal.
Additionally, information
Additionally,  information about AAA and its rules
                                             rules and
                                                   and procedures can be found at www.adr.org.
    Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 25 of 26



copy
the  Ǥ
         to the last address you provided to the Company in writing. 

 
All  service 
               hereunder 
                             must   by
                                   be made     United
                                                      
                                                           States certified  or 
                                                                                 registered ǡ
                                                                                             mail,   
                                                                                                   return receipt
Ǥ
requested. 

ludicial   Enforcement
JudicialEnforcement
 
Either party may bring
                      an
                              action
                                   in
                                         any
                                            court
                                                   of
                                                        competent
                                                             jurisdiction
                                                                          (1)
                                                                                      ȋͳȌto
                                                                                           compel
                                                                                               Arbitration
                                                                                                      
ǡȋʹȌ
under this Agreement, and (2) to enforce          ǡ
                                                  or vacate  an arbitration award, if provided for by the laws

of such  Ǥ  
         jurisdiction.

Damages and Other Relief 
DamagesandOtherRelief

Any   Claim arbitrated hereunder is subject
                                                   to the same limitations regarding damages and ability to
ǡǡ
obtain other relief, as well as affirmative rights to damages and other relief, as would have applied

if the Claim was initiated in a judicialǤ
                                            forum. 

Survival;  Modification: and Termination 
Survival;Modification;andTermination
ǡ
This Agreement will survive the termination of your employment with the Company, as well as the

termination   or expiration of any benefit of such  Ǥ
                                                        employment. In
                                                                           the event that your employment
Ǧǡ
with  the Company is severed or terminated and you are subsequently re-employed by the Company,
 Agreement
this   
                  will 
                       remain   
                               in full       
                                        force         
                                               and effect             subsequent
                                                            during such   employment
                                                                                       and
                                                                                                  will
                                                                                                      

survive  the termination of suchǤ
                                  subsequent employment.  


This Agreement supersedes any prior agreement between the parties concerning               
                                                                                                         the subject
                                                                                                                       matter

of 
     dispute Ǥ     Agreement
              resolution. This        may   only
                                                            bemodified,
                                                                       ǡ 
                                                                                     revoked Ȁ        by
                                                                                                and/or terminated          a
 written
subsequent      agreement
                           that
                                        specifically
                                                 
                                                               states 
                                                                      the ̵   to
                                                                           parties' intent    modify,
                                                                                                 ǡ 
                                                                                                             revoke Ȁ
                                                                                                                       and/or

terminate   this Agreement and that is signed by you and an Executive            
                                                                                       ViceǤ
                                                                                             President of the Company. 

Construction 
Construction
If 
    any court      
               of competent              ǡ
                                 jurisdiction   finds any part or provision of this Agreement void, voidable or

otherwise          ǡ such
              unenforceable,           a 
                                              finding
                                                         will
                                                                not   
                                                                    affect     the 
                                                                                   validityof      
                                                                                                  the remainder            
                                                                                                                       of the

Agreement     and all other parts and provisions will remain in full force    and effect.Ǥ 

Governing Law 
GoverningLaw

This Agreement is governed by the Federal       
                                                         Arbitration Act    
                                                                               and by the laws of the state where the

Claimǡ
         arose,
                 to 
                     the 
                          extent 
                                   those 
                                          laws 
                                                  are 
                                                        not    
                                                            inconsistent     with Ȁ     by
                                                                                    and/or preempted          the
                                                                                                                 Federal
                                                                                                                       

Arbitration      Ǥ 
              Act.

At-Will   Employment
AtǦWillEmployment
 
Your    employment    is 
                            not 
                                 for 
                                     any        
                                          specific     duration 
                                                                  and 
                                                                       either theCompany
                                                                                             may
                                                                                                  or you      terminate
                                                                                                                   
ǡ
your   employment relationship at any time, with or without 
                                                                              cause and with or without notice.     Ǥ  This
                                                                                                                          
Ǧ      ǡ
express at-will acknowledgement            supersedes any and all prior representations and understandings,
ǡǡǤ
whether   written or oral, express or implied, between the Company and you.   





                                     
    Case 2:16-cv-00384 Document 13-1 Filed on 11/04/16 in TXSD Page 26 of 26



SIGNATURE
YOUR      FACT
                BELOW ATTESTS TO THE   ǣ
                                          THAT:

        ͳǤ YOU
        1.  HAVE
                 ǡǡ 
                     READ, UNDERSTAND, AND AGREE          
                                                 TO BE LEGALLY BOUND TO ALL OF 
                                                                               THE
           Ǥ
           ABOVE  TERMS.

        ʹǤ 
        2. YOU          
               ARE SIGNING    
                           THIS   
                                AGREEMENT          Ǥ
                                          VOLUNTARILY.

        ͵Ǥ 
        3. YOU               
               ARE NOT RELYING               
                               ON ANY PROMISES                  
                                                 OR REPRESENTATIONS      
                                                                    BY THE COMPANY
            
           EXCEPT THOSE        IN
                        CONTAINED     
                                      THIS   Ǥ
                                           AGREEMENT.

        ͶǤ  
        4. YOU  UNDERSTAND        
                                THAT   BY      
                                          SIGNING       AGREEMENT,
                                                    THIS   ǡ 
                                                                      YOU       
                                                                           ARE GIVING       
                                                                                       UP THE
           
           RIGHT   
                  TO HAVE       
                            CLAIMS       
                                   DECIDED                      Ǥ
                                              BY A COURT OR A JURY.
           
        ͷǤ  HAVE
        5. YOU          THE
                        BEEN GIVEN     OPPORTUNITY
                                             TO DISCUSS
                                                                THIS
                                                                        AGREEMENT
                                                                              WITH
                                                                                          
            
           PRIVATE  LEGALǤ
                            COUNSEL AT YOUR EXPENSE. 
                                       

APPLICANT 
APPLICANT                               


̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴
Brianna Perez                                        

Signature                                          


Brianna Perez
̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴         

Print Name                                         

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̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴̴
  5/26/16, 4:07:08 PM

Date
